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                   UNITED STATES BANKRUPTCY COURT
                SOUTHERN DISTRICT OF TEXAS (HOUSTON)

                              .
IN RE:                        .         Case No. 23-90147
                              .         Chapter 11
MOUNTAIN EXPRESS OIL COMPANY, .
et al.,                       .         515 Rusk Street
                              .         Houston, TX 77002
                 Debtors.     .
                              .         Thursday, March 23, 2023
. . . . . . . . . . . . . . . .         2:00 p.m.

  TRANSCRIPT OF DEBTORS' EMERGENCY MOTION FOR ENTRY OF INTERIM
        AND FINAL ORDERS (I) AUTHORIZING THE DEBTORS TO
 (A) OBTAIN POSTPETITION FINANCING AND (B) USE CASH COLLATERAL,
        (II) GRANTING LIENS AND PROVIDING SUPERPRIORITY
     ADMINISTRATIVE EXPENSE CLAIMS, (III) GRANTING ADEQUATE
   PROTECTION TO PREPETITION SECURED PARTIES, (IV) MODIFYING
    THE AUTOMATIC STAY, (V) SCHEDULING A FINAL HEARING, AND
               (VI) GRANTING RELATED RELIEF [105]
               BEFORE THE HONORABLE DAVID R. JONES
              UNITED STATES BANKRUPTCY COURT JUDGE

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1          (Proceedings commenced at 2:00 p.m.)

2                 THE COURT:   Good afternoon, everyone.        This is Judge

3    Jones.    The time is two o'clock Central.        Today is March the

4    23rd, 2023.     This is the docket for Houston, Texas.          Next on

5    this afternoon's docket, we have the jointly-administered cases

6    under Case Number 23-90147, Mountain Express Oil Company.

7                 Folks, please don't forget to record your electronic

8    appearance today.      If this is new for you, it's a quick trip to

9    my website, a couple of mouse clicks.         You can do it at any

10   time prior to the conclusion of the hearing, but it is the

11   official way we note your appearance at today's hearing.

12                First time that you speak, if you choose to speak, if

13   you would please state your name and who you represent, that

14   serves as a good point of reference for the court reporting

15   folks in the event that a transcript request is made.               We are

16   recording this afternoon using CourtSpeak.          We'll get the audio

17   up on the docket shortly after the conclusion of the hearing.

18                If you came in right at two o'clock, I have activated

19   the hand raising feature.       Number of you have already raised

20   your hand.     I've gotten you unmuted.      But for those of you who

21   know you're going to be speaking, if you'd go ahead and give me

22   a five star on your telephone, I'll get you unmuted now.               And

23   obviously you can change your mind at any time.

24                With that, Mr. Pomerantz?

25                MR. POMERANTZ:    Good afternoon, Your Honor.          Jeff



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1    Pomerantz of Pachulski Stang Ziehl & Jones, proposed counsel

2    for the debtors in possession.         Can Your Honor hear me well?

3                THE COURT:    Loud and clear, thank you.

4                MR. POMERANTZ:     In the virtual courtroom for the

5    company are Mr. Wadud and Mr. Frady.         They are participating by

6    phone, the debtors' cofounders and co-CEOs.           Justin Martin, who

7    is the debtor's chief operating officer and Neil Lansing, who

8    is the debtor's chief general counsel.         And also on the phone

9    are the two independent directors, Mr. (audio interference)

10   Barbarosh who you met before.        Also in the virtual courtroom,

11   and who will be the witness this -- today's hearing to the

12   extent necessary, is Michael Healy of FTI Consulting, the

13   debtor's proposed chief restructuring officer, and also

14   Geoffrey Richards, a managing director of Raymond James, the

15   debtors' proposed investment banker.

16               THE COURT:    All right.

17               MR. POMERANTZ:     I'm joined by my partners,

18   Mr. Litvak, Henry Kevane, Jeff Dulberg, and by Ben Wallen as

19   well.

20               Your Honor, before I start on the emergency motion we

21   filed this morning, we've had an emergent set of issues arise

22   this morning that I wanted to apprise Your Honor about.              I have

23   a rather unorthodox request of Your Honor to hopefully

24   alleviate the situation and you will tell me if that is

25   acceptable.



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1                So as Your Honor knows, we have hundreds of

2    convenience stores around the country.         The debtor operates a

3    number of them.     We've had several of various vendors and

4    creditors, mostly representing local bottling companies, soft

5    drink companies, come into the debtor's convenience stores and

6    exercise self-help.      Some have actually looked to take out the

7    vending machines.      Others have threatened to take out the

8    coffee.    This has caused extreme disruption at the stores and

9    has obviously made the employees who are running these stores

10   quite unsafe.     But we believe that a piece of paper posted at

11   each of the sites, perhaps an order from Your Honor saying what

12   the automatic stay is and does, could have the interim effect

13   that would prevent this from happening.

14               So I would, again, an unorthodox request, make a oral

15   motion that Your Honor enters an order, under the aid of the

16   automatic stay, that we'll be able to transmit to all locations

17   and hopefully put an end to this troubling activity.

18               THE COURT:    Mr. Pomerantz, ordinarily I won't

19   entertain oral motions simply because of due process concerns,

20   but under the circumstances and given the fact that those

21   typical orders only restate in plain English what the law is,

22   I'm happy to do that.      If you would have somebody on your team

23   upload what it is you're looking for, I will turn that around

24   immediately.

25               MR. POMERANTZ:     Thank you very much, Your Honor.          We



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1    appreciate it.

2                So, Your Honor, according to today's activities,

3    prior to the deadline, which I'm glad the Court set at 9 a.m.

4    Central time today, we filed a motion to approve debtors-in-

5    possession financing from our existing lender group, a proposed

6    form of order, and a proposed DIP credit agreement.             We also

7    filed the declarations of Michael Healy and Mr. Richards to

8    provide the evidentiary support for the motion.            This is in

9    addition to the declaration of Michael Healy, which we filed

10   yesterday, which set forth the background information of the

11   debtor's business.      Your Honor has now heard that speech from

12   me twice, so I will spare you of a third time and I will just

13   rely on what we have in his declaration.          While the parties

14   have made substantial progress towards the consensual financing

15   at the time we filed the documents with the Court, we had not

16   yet reached a final deal with the lenders, and conspicuously

17   noted that, in the motion that we filed.

18               Since obtaining liquidity, as Your Honor is aware, is

19   critical to the debtors' survival, we made the calculated

20   decision to file the documents in hope that we would be able to

21   work out any issues that we were able to work out in advance of

22   today's hearing.      And I'm pleased to report that our decision

23   paid off, as I am now able to confirm to Your Honor that we do

24   have and in fact reached a DIP financing agreement, a proposed

25   form of order, and a DIP credit agreement which everyone finds



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1    acceptable.

2                Shortly before the hearing, we filed redline to the

3    motion, to the DIP order, and the DIP credit agreement,

4    reflecting certain incremental changes that, not only were

5    asked for by the lenders, but since we filed the documents in

6    the morning, as is often the case, we've had landlords, fuel

7    suppliers, reach out and request certain information to give

8    them comfort, which we've been able to put in.

9                I want to thank -- this has been a team effort.             I

10   want to commend the letter -- lenders and their professionals

11   for working with us virtually around the clock through the

12   documents to reach a deal.        And of course, I want to thank Your

13   Honor for making the time available for us over the last

14   several days and today as we worked through the issues.

15               So what I would like to do is I would like to walk

16   through the principled terms of the deal, which is reflected in

17   the documents.     We would then seek to admit the declarations we

18   have filed, subject to cross-examination, and to the extent

19   anyone believes testimony is necessary, we're prepared to move

20   forward.    The --

21               THE COURT:    So --

22               MR. POMERANTZ:     Is that okay, Your Honor?

23               THE COURT:    Mr. Pomerantz, what I was going to

24   suggest as one slight alteration to that is, I spent all

25   morning working my way through the credit agreement, the



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1    declarations, the DIP order.        Took two Diet Mountain Dews, but

2    I made it all the way through.        What I -- and again, I don't

3    want to put my finger on the scale at all.

4                I have two issues that I wanted to raise and I

5    thought I'd do it in the beginning and then perhaps we take a

6    ten-minute recess; number one because I do now see -- I had not

7    seen 115 before I left for lunch, is to give me a -- is to give

8    me five or ten minutes to read through the redline and also

9    give you all the opportunity to talk about my two issues.               And

10   I don't think they're going to be too controversial, but they

11   are extremely important to me.

12               Issue number one -- and it's not really in the

13   interim, but because you've reserved it for the final -- but I

14   want everybody to know that it's going to be a -- it's going to

15   be a big issue for me.        And I think I've been consistent, at

16   least for the past several years in making this requirement.

17               I don't have an issue with having a lien on the

18   proceeds of avoidance actions, but I do want it to be a last

19   look.    Then in Paragraph Number 22, with -- the way that I

20   understand that it's been written is that you've created the

21   maturity date, which is effectively the one -- what I'm worried

22   about, is the default, or is the event of default.             And the way

23   it's done right now is that you file a notice and then you

24   begin -- you can begin to exercise remedies.           That is something

25   that just doesn't meet my minimum requirements of transparency.



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1                 And so, Mr. Elrod -- and I'm sure that there -- I'm

2     sure that Mr. Wallen and Mr. Golden can send you some language,

3     but what I do require, and I'm happy to do it on 48 hours'

4     notice.   I'm happy to do it on 72 hours' notice, whatever it is

5     you want to put in there.

6                 But what I want is a short motion for relief from the

7     automatic stay to exercise default remedies and your only

8     requirement is to prove that the maturity date has occurred, to

9     use your terms, in the credit agreement.         And I only do that

10    for transparency purposes.       I want everyone to be able to look

11    at the docket.     In case something were to happen or there were

12    to be a question, I want folks to be able to see exactly what

13    has occurred, and I want people to be able to have the

14    opportunity to voice whatever issues it is that they have.

15                But again, I will do that promptly.        I am not looking

16    for you to conduct an evidentiary hearing on a typical motion

17    for relief.    All I am looking for is simply that the maturity

18    date has occurred.     Again, there's some standard language that

19    a lot of folks have developed that I think someone could

20    probably cut and paste or cut and send to you to see if it

21    would work for you.      Happy to talk through any of those issues.

22                Again, you know, the rest of the deal points, I

23    understand.    I think it's a very -- I think it's a very fair

24    DIP.   I'm not bothered by the multiples of the rollup that

25    exist in this particular case, under these particular



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1     circumstances.     There's nothing in this that bothers me at all.

2                 If you can find a way to accommodate my two issues,

3     again, only one of those for today, then I think that we are in

4     extremely good shape.      Again, not having read the comments that

5     were in 115, but I can't imagine they're going to be

6     substantive, but I would like to go through them.           Does it make

7     sense?

8                 MR. ELROD:    Your Honor, I agree, Your Honor.          So --

9                 THE COURT:    So --

10                MR. ELROD:    I think Jeff and I are -- or

11    Mr. Pomerantz and I are going to say the same thing.            The

12    second point that Your Honor raised has been addressed through

13    comments of the ever-vigilant Office of the United States

14    Trustee.

15                THE COURT:    Okay.

16                MR. ELROD:    So I believe that language will be --

17    will address the issue that the Court raised.          The first issue,

18    I don't know if that was addressed, but I understand the

19    last -- but by last look, you mean avoidance action proceeds

20    would be the last collateral that we realized on.

21                THE COURT:    Yes.

22                MR. ELROD:    Okay.

23                MR. POMERANTZ:    It is essentially a marshaling

24    concept, which we see in a lot of DIP orders, correct?

25                THE COURT:    Absolutely.    And again, I -- you know, I



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1     like shorthanded terms because it sounds cool as opposed to

2     being, you know, long and drawn out.          So yes, that's just my --

3     that's my last look language.

4                 I do see that there are some extensive requirements.

5     I've pulled up the redline at 115, and my apologies, I just

6     hadn't seen it.     Any objection?      It's 2:11.    If folks would

7     just give me, say, until 2:20 to let me read through the

8     redlines, I think we can probably expedite the entire process.

9                 MR. POMERANTZ:       That is totally fine with the

10    debtors, Your Honor.      Thank you very much.

11                THE COURT:    All right.     Thank you.    I'm not going to

12    start --

13                MR. ELROD:    Thank you, Your Honor.

14                THE COURT:    I'm not going to step down.        I'm simply

15    going to mute the line in the courtroom.          Obviously, folks are

16    free to come and go as they wish, and we'll get restarted at

17    2:20 Central time.       Okay?

18                MR. POMERANTZ:       Thank you.

19                THE COURT:    All right.     Thank you.

20                MR. ELROD:    Thank you.

21          (Recess taken at 2:11 p.m.)

22          (Proceedings resumed at 2:20 p.m.)

23                THE COURT:    All right, everyone.        Thank you for the

24    accommodation.     The time is 2:20.      We are back on the record in

25    the jointly-administered cases under Case Number 23-90147,



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1     Mountain Express Oil Company.

2                  I -- having been through the amendments at 115 -- it

3     probably would've helped if I had been able to read that

4     beforehand.     I could have been a lot shorter in my comments.

5     I, having read through them, don't have any concerns with the

6     changes that were made.       Quite frankly, the clarifications, I

7     think, improved the documents overall.

8                  I am extremely comfortable with where we are,

9     Mr. Pomerantz.     I have read the declarations that were

10    submitted by Mr. Healy at Docket 107, by Mr. Richards at Docket

11    106.   I do think that those ought to be officially moved into

12    evidence since I have read them in preparation for the hearing.

13    Do you have any objection to they're being admitted?

14                 MR. POMERANTZ:   I was going to ask that, Your Honor,

15    if you hadn't said it, so no objection.

16                 THE COURT:   Thank you.    Any objection to the

17    admission of Mr. Healy's Declaration, again at 107,

18    Mr. Richard's Declaration, at 106.

19                 MR. EISENBERG:   Your Honor, Philip Eisenberg.

20                 THE COURT:   Yes, sir?

21                 MR. EISENBERG:   On behalf of Phillips 66 Company, we

22    had no objection yesterday.       Mr. Healy's declaration was

23    admitted for purposes of the hearing only.          And so, with that

24    proviso, that was -- that's the only thing I rise to mention to

25    the Court.



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1                 THE COURT:    If I didn't say that, I meant to say it,

2     and thank you for the correction.        Again, both the admission of

3     both declarations again is for purposes of today's hearing

4     only.

5                 Anyone else?     Then I will admit the declarations

6     found at 106, 107.

7             (ECF Numbers 106 and 107 admitted into evidence)

8                 THE COURT:    Mr. Pomerantz?

9                 MR. POMERANTZ:    Your Honor, I had the presentation to

10    go through, the terms of the DIP for the evidentiary support.

11    But I've learned as a young lawyer that if you're winning, keep

12    your mouth quiet.     So unless Your Honor would like to hear me

13    recite that, I would just ask Your Honor to approve the motion.

14                THE COURT:    That's fair enough.     Anyone else wish to

15    be heard?

16                MR. EISENBERG:    Again, Your Honor, Philip Eisenberg

17    on behalf of Phillips 66 Company, and this is really, really

18    small.    But there's a footnote on Page 30, Number 4, with a

19    litany of fuel suppliers.       And guess I didn't see that

20    previously, and we would just ask that in the final version

21    that Phillips 66 Company be included in the --          with the

22    (indiscernible).

23                THE COURT:    So -- and so tell me, Mr. Eisenberg, I

24    was getting 115 up.      So we're talking about foot - it's -- I

25    think it's footnote number 4 on Page 29 in the final order.                 Is



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1     that what you're referring to?

2                 MR. EISENBERG:    Yes.    The one that says "The fuel

3     suppliers include."

4                 THE COURT:    Okay.   So hold on just one second.        And

5     Mr. Pomerantz, I'm assuming that you could -- you can't

6     possibly have a concern about the addition of Phillips 66 to

7     that list of providers.

8                 MR. POMERANTZ:    We do not.

9                 THE COURT:    All right.    So hold on one second because

10    I don't want -- do not want Mr. Eisenberg to suffer a nervous

11    breakdown because he's not in footnote number 4.           So,

12    Mr. Eisenberg, you should see footnote number 4 on the screen.

13                MR. EISENBERG:    I do.

14                THE COURT:    And you know what?     Because --

15                MR. EISENBERG:    You can even put us first.

16                THE COURT:    That's exactly what I was going to do.

17    And Mr. Eisenberg, let's see -- let's get, oops.           You know

18    what?   There are actually two -- because it's in a pdf, there

19    are actually two different text boxes there.

20                So, Mr. Eisenberg, I'm going to put you last, but in

21    my heart, you're first.      How about that?

22                MR. EISENBERG:    That is awesome, Your Honor.          And as

23    everybody knows, I used to be a cab driver in New York, so I

24    don't really have nervous breakdowns.         You just honk the horn a

25    lot.



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1                  THE COURT:   Fair enough.    And could you give me the

2     official name of your client that you would like to see in the

3     footnote?

4                  MR. EISENBERG:   Yes, Your Honor.      Phillips 66

5     Company.

6                  THE COURT:   And it's actually only one L, isn't it?

7                  MR. EISENBERG:   It's two Ls, Your Honor.

8                  THE COURT:   It's two Ls.    Okay.   Then I got it right

9     the first time.     All right.    You okay with that?

10                 MR. EISENBERG:   Yes, Your Honor.

11                 THE COURT:   All right.     Anyone else have any

12    comments, concerns -- we need to fill in a hearing date -- but

13    as to the substance of the proposed order?

14                 All right.   Then, based upon the declarations that

15    I've read, my own review of the credit agreement, as well as

16    the motion, the proposed form of order, I will find that

17    approval of the DIP on an interim basis is absolutely necessary

18    to the continuation of the debtor's business.          The terms are

19    just given what I see on a regular basis, they are imminently

20    fair.   Clear to me that it's been negotiated at arm's length.

21    And again, I don't have any concerns with any of the terms that

22    are identified within the motion and the attached credit

23    agreement.

24                 Mr. Pomerantz, we had a discussion yesterday about

25    hearing dates.     My memory is, and please correct me if I'm



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1     wrong, that you were looking for something on like the 11th or

2     12th or 13th.     Is that -- is my memory correct?

3                 MR. POMERANTZ:    Yes, correct, Your Honor.        The 12th

4     or 13th --

5                 THE COURT:    12th?

6                 MR. POMERANTZ:    -- would be optimal.

7                 THE COURT:    Okay.   And did you -- and I know we had

8     this conversation about something -- did you want in the

9     morning, afternoon?      It doesn't matter.

10                MR. POMERANTZ:    It doesn't matter either of those

11    days.   It was an -- a later date in April that the morning

12    mattered to me, but on the 12th, 13th, it's whatever Your Honor

13    has open is fine with us.

14                THE COURT:    All right.     And you are two hours

15    earlier, right?

16                MR. POMERANTZ:    Correct.

17                THE COURT:    Okay.   I'm happy to do this.       You want to

18    just do this at noon?      Because that'd be ten o'clock your time.

19    I'm sure you'll be just out of traffic and having your first

20    cup of coffee.

21                MR. POMERANTZ:    Well, I only have to go into my

22    kitchen since I work mostly at home.         But Your Honor, I don't

23    want to ruin Your Honor's lunch.         So if you wanted to do it

24    earlier in the morning calendar, I would accommodate that as

25    well.



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1                  THE COURT:    That's -- let's just -- again, just

2     because we have folks all over the place, let's just go April

3     the 12th at -- that is weird; okay; hold on -- 10.            You okay

4     with that?

5                  MR. POMERANTZ:    Yes, Your Honor.     And do we need to

6     set an objection and a reply date?        We would ask for objections

7     being by the 7th, and replies by the 11th.

8                  THE COURT:    Let's see, 12th.    Let's see.     The 7th is

9     Friday.    Mr. Ruff, you okay with that?

10                 MR. RUFF:    Yes, Your Honor.

11                 THE COURT:    All right.   Thank you.

12                 All right.    Then with that, I got all the

13    attachments.     All right.    Order has been signed and it's on its

14    way to docketing.        It'll be there in just a couple of -- in

15    just a couple of minutes.

16                 Mr. Pomerantz, and I had another thought while I was

17    thinking about the emergency situation that you were describing

18    to me.    And number one, I do think an order that could be

19    handed out, posted about the effect of the automatic stay,

20    entirely appropriate.       I'm happy to do it.

21                 What really bothers me is those folks who've come in

22    and violated the automatic stay and have affected the integrity

23    of the process that I am responsible for overseeing.            And what

24    I was contemplating was perhaps a second order that could be

25    delivered to folks who may have inadvertently violated the law



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1     and exercised self-help, that would require them to return, at

2     their expense, all items taken from any of the debtors'

3     locations within 48 hours, or be subject to a motion for

4     contempt, which would be held in-person, no telephonic

5     appearances permitted, in Houston.        It seems to me that perhaps

6     that might help send the right message to folks that there is a

7     process that we all must abide by.

8                 MR. POMERANTZ:    I think that would be very well

9     received by the people in the field and would be appropriate in

10    order to get them to comply to the extent that we won't see

11    them again.

12                THE COURT:    So, okay.     I'm going to draft that order

13    and it will be -- I'm just going to sit right here and get it

14    done right now because that would seem to me to be important.

15    I obviously also want to make sure that all of the employees

16    feel safe and if there's anything else that needs to be done, I

17    want to make sure that we all put our heads together and come

18    up with a solution that makes those folks feel comfortable

19    coming to work every day.       Okay?

20                MR. POMERANTZ:    Your Honor, on behalf of the debtor,

21    we are appreciative of your sensitivity to the issues and the

22    way you're handling it.      So point taken.     And we know Your

23    Honor's courtroom door is always open.

24                THE COURT:    All right, thank you.      And then with

25    respect to just the effect of, you know, the worldwide effect



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1     of the automatic stay order, again, shouldn't take too long.

2     But if you would just get that done, get it uploaded, pass it

3     by anybody that needs to see it, and then let Mr. Alonzo know

4     once it's been uploaded, I will immediately turn that around.

5                 MR. POMERANTZ:    I understand Mr. Wallen is drafting

6     away as we speak.

7                 THE COURT:    I see him.    I don't see his hands moving,

8     but you know, he is -- there he goes.         All right.    Fair enough.

9     I asked for that.

10                All right.    With that, again, thank you everyone for

11    working through the issues.       I -- I'm here if I'm needed.

12    Otherwise, I will let you all go do what I know how you -- what

13    I know you know how to do very well.

14                Mr. Richards, you got tough tasks in front of you.

15    Get to work.    I want you to look sleepy next time I see you.

16    Okay?

17                MR. RICHARDS:    Thank you, sir.     Bags under the eyes

18    next time.

19                THE COURT:    All right.    Thank you.    Everyone, have a

20    good weekend.     We'll be adjourned.

21                MR. POMERANTZ:    Thank you, Your Honor.

22                MR. RICHARDS:    Bye-bye.

23          (Proceedings concluded at 2:31 p.m.)


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1                           C E R T I F I C A T I O N

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3                 I, Alicia Jarrett, court-approved transcriber, hereby

4     certify that the foregoing is a correct transcript from the

5     official electronic sound recording of the proceedings in the

6     above-entitled matter.

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11    ALICIA JARRETT, AAERT NO. 428           DATE: March 27, 2023

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